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FoR THE WESTERN DISTRICT oF TENNESSEE 05 AU¢
WESTERN DlesION b 25 PH 32 149

 

 

ROBERT ACKERMAN,
Plaintiff,
No. 05-2255-BV

V.

DlRECT\/, INC.,

\.,/\~_/\_/\_/\_/\-_/~_/\./\_./

Defend ant.

 

PRBPQSED RULE l6(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice and upon announcement to
the Court by counsel for the parties that they have agreed to the deadlines herein, the following
dates are established as the final deadlines for:
RULE 26(a)(l) DISCLOSURE DEADLINE: Septelnber 13, 2005
.lOINING PARTIES: October 3, 2005
INITlAL MOTIONS TO DlSl\/IISS: November 25, 2005
A_MENDING PLEADINGS: October 3, 2005
‘CoMPLETrNG ALL DIsCo\/ERY; April 4, 2006

(a) DOCUMENT PRODUCTION: January 23, 2006

(b) NON-EXPERT DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADl\/IISSIONS: March 3, 2006

(c) EXPERT WITNESS IDENTIFICATION DISCLOSURES RULE (26)

(l) DlSCLOSURE OF PLAINTIFF'S RULE 26 EXPERT INFORMATION:
February 3, 2006

 

l ALL DISCOVERY MUST BE ISSUED IN TIME TO BE COMPLETED BY THE DISCOVERY BAR DATE

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(2) DISCLOSURE OF DEFENDANT‘S RULE 26 EXPERT
lNFORl\/IATION'. March 3, 2006

(3) EXPERT WITNESS DEPOSITIONS: Apri] 4, 2006
FlLlNG DlSPOSlTIVE MOTIONS: May 4, 2005
OTHER RELEVANT MATTERS:

No other depositions may be scheduled to occur after the discovery cutoff date. All
motions, requests for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond by the
time permitted by the Rules prior to that date.

Motio'ns to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or the service of the response, answer, or objection, vvhich is the
subject of the motion, if the default occurs Within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be Waived.

This case is set for jury trial, and the trial is expected to last 3 days. The pretrial order
date, pretrial conference date, and trial date vvill be set by the presiding judge

This case is appropriate for ADR. The parties are directed to engage iri court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule 7.2(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

Tlie opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting

forth the reasons for which a reply is required.

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The parties have not consented to trial before the magistrate judge.
Tliis order has been entered after consultation With trial counsel pursuant to notice.
Abscnt good cause shown, the scheduling dates set by this order Will not be modified or

extended

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UNITED STATES MAGISTRATE JUDGE

 

APPROV ED:

 

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Attoi'ney for Defcndant

 

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(901) 526-2000

Attorney for Plaintiff

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02255 Was distributed by fax, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Antonio L. l\/latthevvs

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
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l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

